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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

FELISA G. MYERS,                                  *
                                                  *
       Plaintiff,                                 *
                                                  *
vs.                                               * Civil Action No. 04-00822-CB-B
                                                  *
JO ANNE B. BARNHART,                              *
Commissioner of                                   *
Social Security,                                  *
                                                  *
       Defendant.                                 *

                                                ORDER

       After due and proper consideration of all portions of this file deemed relevant to the issues raised,

and there having been no objections filed, the recommendation of the Magistrate Judge made under 28

U.S.C. § 636(b)(1)(B) and dated November 8, 2005, that Plaintiff’s motion for leave (Doc. 2) be denied

and Defendant’s motion to dismiss (Doc. 12) be granted, is ADOPTED as the opinion of this Court.


       DONE and ORDERED this the 30th day of November, 2005.




                                                         s/Charles R. Butler, Jr.
                                                         Senior United States District Judge
